 

`___Case 1:17-cV-03924-PKC Document 22 Filed 02/09/18 Page 1 of 3

" Hon. P. l(evin Castel, U.S.D..l
United States District Court.
United States Courthouse
500 pearl Street

New York, New Vork 10007

  

Re: Charles .l. M¢:Carthy' v One Up Games LLC, et al.
Docket No. 1:17-cv-03924~PKC

Response Letter

Dear Judge Castel:

This letter is on behalf of the individual named defendants in the above referenced case. We are
currently unrepresented by an attorney in this matter due to lack of funds to obtain one.

This issue has risen out of our empioyer, One Up Games LLC. This company has become non-operational
as of April 2017 and all the defendants have lost considerable sums of money and we are all dealing with
the fall out as employees as weli. The Plaintiff's attorney, Mr. Meisner, has used knowledge of this
situation to wrongfully bui|y only the individual named defendants into this settlement by naming them
personally in this case. Moreover, two of the named defendants, Mr. Rizvi and Mrs. Willacy, are and
were never appointed directors or officers of the company. They shouldn't even be named personally at
all and this is a clear error by the plaintiff and their attorney.

We feel the scare tactics imposed by Mr. Meisner with EiRSA claims and multijurisdictiona| filings had us
personally agreeing to a settlement only out of fear of what could happen, rather than facilitating a
productive settlement process based in facts.

in light of that, we are asking the court to not imposejudgement of settlement on the individually
named defendants `l'he P|aintiff is free to seek judgement on the company and attempt to collect
through that method. One Up Games LLC will come back to the table to negotiate a revised settlement
term that is achievable and realistic for the company and its directors

We hope the court will agree to remove the individually named defendants on this matter and allow us
to work together to revise the settlement with the company without wasting any of the courts time.

Sincerely,
Daren Trousde|l Omar Rizvi

“~`<1' Me~]ti'l\w A- St¢)ioi:i? Cut`oc ets/tail edf Mwii»_`yi“'i~{@\@jv“$“wmv
1 Jarz>\\“m F Mei$rtu’§`d»§ug§m»€ ila 1.

assess assessequ Wa§§c,.ws mrs envelope r:> rul use irvan tile lunuvvl:lg beivlCES: tit“'fs N§,‘Ett‘ sittng §~`til"”

ease 1:17-cv-03924-PKC Documem 22 Filed 02/09/13 Page 2 or 3 mm W@§§§W§M»§§;@WW
. iii-§§ ind italy situ

 

 

aupsstore.com or Ca|| 'l-SOO-PlCK-UPS® (1-800~742~5877) &pp§y shielding documents on tiz§s side
a location near you. " - <

shipments Do not use this enveiope io'r:

y for the letter rate, UPS Express Enve|opes may only contain

ndence, urgent documents,_and/or electronic media, and must UPS Gfotlnd

oz. or |ess. UPS Express Enve|opes containing items other than Ups Standard

ted or weighing mate than 8 oz. will be billed by weightl UPS 3 Day Se|ect@

UPS Worldwide Expedited@

nal Shipments

Express Enveiope may be used only for documents of no commercial

ertain countries consider electronic media as documentsl Visit . .
Vlslt theupsstore.com to learn more

 

/importexport to verify if your shipment is classified as a document `
_ § about our Pnnt Er Buslness Servlces.
y for the Letter rate, the i}PS Express Envelope must Welgh 8 oz. or less.
less Envelopes Weighing more than 8 oz. Wi|| be billed by Weight.
ress En\relopes are not recommended 'lor shipments ol eiecironic media
y sensitive personal information or breakale i"rerns. Do not send cash
. - m 1
gaf c / l x ' m §§ :`

§“loy\. ls 'l<tv“w\ C<:\S-l-e\; ll$.lj.:.lt
Lkv\`\¥leoc §l-»>»l'€s ’l)i`sl-rrdt Coor"l
U\v\\"rt-A\ 334-hhs COM`H\D»\SQ..

soo rmi stats ' §
nw \/a-l<, nw ><»).»l<

l`oo@'l U
new@

nd/or
ihiblted.

 

802 50709 07/15 E.lnited Parcel Ser\rice

 

 

 

:.»m.x» \m.ata;_i=~w_§ Wm§@ieeoa

mm cnvciup\: la lui usc vviur un: lulluvvllig auivlu:'>: Ut“’;'s inmate aids §»t§§"

ii§§§ iiiioriowide §itosess"”

Case 1:17-cV-O3924-PKC Document _22 Filed 02/09/18 Page 3 Of 3 UY§ gm DW §§§,@

 

aupsstore.com or call 1-800-P|CK-UPS® (1-800-742-5877)

a location near you.

Shipments

y for the better rate, UP5 Express Enve|opes may only contain
ndence, urgent'documents, and/or electronic media, and must
oz. or less. UPS Express En\relopes containing items other than
ted or weighing more than 8 oz. wii| be billed by weight

nal Shipments

Express Envelope may be used only for documents of no commercial
artain countries consider electronic media as documents Visit
/importexport to verify if your shipment is classified as a documentl

yfor the l_etter rate, the UPS Express Envelope must weigh 8 oz. or |ess.
'ess Enve|opes weighing more than 8 oz. will be billed by weightl

'c-ss En\reiopes are not recommended for shipments or' electronic media
Sensili\rc personal infoirnailon or brealca’ole items Do noi send cash

  
   
 

   

     
         
 

<:>
o 'm
°‘ Hl-I
|_
_i
.°F. / l =
m _
N _
mg m -_--'__
_
$‘_?1_ _
d ____
_1§"’ -._c_ _ m=
mag gm =
®§§ `Scx E_.__
,_ _ lq_l =
o:) ____
w __
E_“l = ir
»_|_ ____
gm “‘cl:
mg =
Ll_l i_ :>_~"
m a §§"° o:
m v l_>_i ¢:l
s t moss ~’ ,
-o: §§ C‘ L'J §
as at E“‘l as x
ir»- l- --z® .~.¢-er LLI
_ gm §§ 20® §*'°'~ z
isaacs DI“°
n- I
§§::3§ _'c:§ n_
' I
assess m»- §‘S‘§ :,

llliiilillyll

TRACKING ar
aILLIno: P/F

 

 

RRDRFZI‘H?

sEENmEuN mowa urs roma-umwa lemon a immunegramnyow.wpl$ilmal&lMMBHBM!EIEM¢¢EHMMEM£

lenddlmmmrinmmmlmrmmm

 

; o

lServing you io

honig shipping docooaen‘ts on tii§s sideg

Do not use this envelope io'r:

UPS Ground

UPS Standard

UPS 3 Day Select®

UPS Worldwide Expedited®

Visit theupsstore.com to learn more
about our Print Er Business Services.

r more than 100 years
United Parce| Service.

 

Shipping Nollce -~ Carriage hereunder may be subject to the rules relating lo liability and other terms and/or conditions established by lhe Comlenllon lor the Unilication 01 Certain Ruies Relallng to international Carrlage by Air line "Warsaw Conventlorl”) and/or
in on the Conlraci for the internationa! Carriage ol Goods by Road (ihe "Cile Conveotion")‘ lhese commodilies, technology or software were exported lrom the U.S. in accordance Wlth lhe Exporl Adrninislratlon Regulations. Diversion contrary to U.S. law prohibited

01880250709 07/15 limited ParceiService

 

 

 

 

